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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
JPM:AP                                              271 Cadman Plaza East
                                                    Brooklyn, New York 11201



                                                    March 9, 2023

By Email and ECF

The Honorable Marcia M. Henry
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Amaury Guzmán
                      Criminal Docket No. 23-CR-107(MKB)

Dear Judge Henry:

               The government submits this letter in advance of the defendant’s renewed bail
application on March 9, 2023 and supplements information supplied by the government in its
detention memo filed on February 23, 2023. See ECF No. 5. On March 8, 2023, a grand jury
returned an indictment charging the defendant with violations of Title 18, United States Code,
Sections 2312 (interstate transport of a stolen motor vehicle), 2119 (carjacking) and 924(c)
(brandishing a firearm during a crime of violence). See ECF No. 12. For the reasons stated
below, the government requests that the defendant continue to be detained pending trial. The
government respectfully submits that circumstances are unchanged and that the defendant
remains a danger to the community and also constitutes a flight risk.

I.       Background

         A.    The Order of Detention Entered on February 23, 2023

                The defendant was charged by complaint with participating in a violent carjacking
and brandishing a firearm during that crime of violence, which took place on November 22, 2022
in Queens, New York (the “November 22nd Carjacking”). See ECF No. 4. That carjacking
involved the defendant and his co-conspirators using a Mercedes Benz sedan stolen two days
before the carjacking from a residence in Carteret, New Jersey. Id. at ¶ 3. After carjacking the
victim of his BMW SUV, the defendant and his cohorts fled in the Mercedes and in the BMW
stolen from the victim. Id. at ¶ 2(d). As police pursued the stolen BMW, both vehicles soon
collided into one another. Id. at ¶ 2(f),(g).
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                On February 23, 2023, the defendant was arrested on the complaint, and,
following argument, the Honorable Cheryl L. Pollak, United States Magistrate Judge, entered an
order of detention. In her bail determination, Judge Pollak specifically found the defendant to be
a “serious risk of flight.” Specifically, she noted that the defendant has had multiple arrests since
December 2020 and that he committed the instant offense while out on bail on a firearms-related
indictment in Queens County.

                Although Judge Pollak did not proceed to make a specific dangerousness finding,
she noted that the conduct alleged in the complaint endangered the community and that “civilians
could [have] be[en] injured” as evidenced by injury to one of the co-conspirators as a result of
the collision following the carjacking. She also noted that multiple orders of protection were
issued against the defendant thereby suggesting that “he does have anger management
problems.”

       B.      Additional Evidence Linking the Defendant to the Charged Conduct

                As outlined in the complaint, agents linked the defendant to a blue iPhone (the
“Blue iPhone”) recovered from the driver’s side of the BMW carjacked from the victim at
gunpoint. Id. at ¶¶ 4-13. Photos retrieved from the Blue iPhone, pursuant to a judicially
authorized warrant, included a photo of the defendant’s own permanent residence card, among
other items. Id. at ¶ 12. Additionally, cell site records for the defendant’s Blue iPhone placed
the device at the location where the Mercedes was stolen in Carteret, New Jersey and also at the
location of the carjacking on November 22, 2022. Id. at ¶¶ 14-15.

                At the initial bail hearing on February 23, 2023, defense counsel argued that the
evidence laid out in the complaint was more consistent with the Blue iPhone being lost or stolen
and then subsequently recovered by someone else. However, a judicially authorized search of
the defendant’s Instagram account (                )—linked to the Blue iPhone abandoned by the
defendant after the carjacking—revealed direct references by the defendant to his involvement in
the November 22nd Carjacking. In one particular communication on November 23, 2022, the
defendant told another Instagram user, in sum and substance, that he was involved in a car crash
and that one of his associates was in the hospital because of the collision. He added that he was
in a different car at the time of the accident and that they crashed into one another. Most
notably, the defendant stated that he was the only one who got away from the cops because he
ran. This direct admission by the defendant conclusively ties him to the charged conduct.

       C.      The Defendant’s Additional Criminal Activity

               The Pretrial Services Report dated February 23, 2023 noted that the defendant
failed to appear in connection with an indicted matter on October 19, 2022 in Passaic County,
New Jersey. Upon further investigation of that matter, the government has learned that on July
20, 2022, a grand jury sitting in Passaic County returned an indictment charging the defendant
with Eluding in the Second Degree. In that case, the defendant was stopped in an Audi sedan by
New Jersey law enforcement officers on May 31, 2021. As one of the officers approached the
defendant’s car, the defendant put the car into gear and fled at a high rate of speed. The
defendant and his companion subsequently crashed into a guard rail and fled on foot. Additional



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officers and K9 units were later required to locate the defendant in a wooded area of West
Milford, New Jersey. The defendant was released on a summons with a future court date and
then failed to appear.

                As detailed previously in a discussion of the defendant’s criminal history, one of
his prior convictions in 2021 also involved a vehicular collision and a police pursuit. In addition
to the criminal conduct described above in New Jersey, as well the conduct alleged in the
indictment, the defendant has a demonstrated history of fleeing police to evade apprehension and
endangering members of the public in the process.

                Aside from the defendant’s criminal history, he is also a member of the
Trinitarios, a violent street gang responsible for multiple acts of violence throughout New York
City. Moreover, a recent judicially authorized search of a cell phone recovered from the
defendant after his arrest revealed multiple photos of the defendant possessing and brandishing
multiple guns. This evidence underscores the defendant’s dangerous proclivity for firearms. In
other words, not even a pending indictment charging the defendant with weapons possession was
enough to deter him from accessing illegal guns.

               The defendant’s criminal conduct continued right up to the moment of his arrest
on February 23, 2023. When agents took custody of the defendant near his home, he was driving
a white 2016 Mercedes Benz sedan that had been reported stolen from a residence in
Willingboro, New Jersey on January 12, 2023. The interstate theft of that vehicle is now under
investigation by law enforcement.

II.    Legal Standard

                Under the Bail Reform Act, 18 U.S.C. §§ 3141, et seq. (the “Act”), federal courts
are empowered to order a defendant’s detention pending trial upon a determination that “no
condition or combination of conditions would reasonably assure the appearance of the person as
required and the safety of any other person and the community[.]” 18 U.S.C.
§ 3142(e). A finding of dangerousness must be supported by clear and convincing evidence. A
finding of risk of flight must be supported by a preponderance of the evidence. See United
States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001).

                In cases such as this, however, where there is probable cause to believe that the
defendant has violated 18 U.S.C. § 924(c), there is a statutory presumption that “no condition or
combination of conditions will reasonably assure the appearance of the person as required and
the safety of the community.” 18 U.S.C. § 3142(e)(3)(B). Even if a defendant can overcome
that presumption, the special risk of dangerousness posed by defendants who have committed
such crimes “remains a factor to be considered among those weighed by the district court.”
Mercedes, 254 F.3d at 436.

                If a defendant fails to overcome the statutory presumption or if the government
meets its burden of establishing dangerousness or a risk of flight, detention is mandatory. See 18
U.S.C. § 3142(e)(1) (the court “shall order the detention of the person” if “no condition or
combination of conditions will reasonably assure the appearance of the person as required and
the safety of any other person and the community”).


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                The factors to be considered in determining whether the applicable standard has
been met include: (1) the nature and circumstances of the crimes charged, (2) the history and
characteristics of the defendant, (3) the seriousness of the danger posed by the defendant’s
release; and (4) the evidence of the defendant’s guilt. See 18 U.S.C. § 3142(g).

III.   Argument

                The defendant fails to overcome the statutory presumption that no condition or
combination of conditions will reasonably assure the appearance of the defendant as required and
the safety of the community. See 18 U.S.C. § 3142(e)(3)(B). The defendant offers no new or
additional information for the Court to consider regarding the nature and circumstances of the
crime, history and characteristics of the defendant, seriousness of the danger posed by the
defendant’s release; and/or the evidence of the defendant’s guilt. The only change in
circumstances is that a grand jury has now returned an indictment charging the defendant with
multiple federal offenses including an offense that gives rise to a rebuttable presumption.

                Given the factors discussed above, there are no conditions of release that could
assure that the defendant does not pose a danger and/or would not flee. But even if such
conditions were possible, the defendant’s proposed bail package is simply inadequate. The
defendant proposes a $50,000 - $100,000 unsecured bond comprised of three sureties one of
whom, the defendant’s mother, was already proposed by the defense at the first detention
hearing.

                Judge Pollak expressed reservation about the suitability of the defendant’s mother
as one of the primary suretors on the bond. She pointed to internal inconsistences in the
information provided by the defendant and his mother to Pretrial. For instance, the defendant
denied having any mental health issues, but his mother reported that the defendant used to see
                                            Additionally, the defendant reported that he used
           on a weekly basis, but his mother denied having any knowledge of a substance abuse
issue. Judge Pollak noted that “as a potential suretor, it raises a lot of questions in my mind as to
how much the mother knows about her son.”

              As the defendant makes no new arguments to overcome the statutory
presumption, the government relies on its opposition to the defendant’s first motion for bail and
the above-described facts and circumstances of the case in requesting that the defendant’s motion
be denied.

IV.    Conclusion

                For the reasons set forth above, the government, therefore, respectfully requests
that the Court deny the defendant’s second motion for bond. The order of detention entered by
Judge Pollak on February 23, 2023 should remain in effect because the defendant poses a danger




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to the community and a risk of flight, and he has not presented any intervening material change
in circumstances.


                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney

                                            By:      /s/
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cc:    Clerk of Court (MMH)
       Defense Counsel (via ECF and email)




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